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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                            Eastern Division



 UNITED STATES OF AMERICA

 -vs-                                        Case No. 1:17-10103-04-STA

 JOHNNY CROSS


                             ORDER TO SURRENDER

        Defendant, Johnny Cross, having been sentenced in the above

 styled matter to the custody of the Bureau of Prisons, and having

 been granted leave by the court to report to the designated

 institution at his own expense, is hereby ordered to surrender

 himself to the Bureau of Prisons by reporting to: USP Marion, 4500

 Prison Road, Marion, IL 62959, no later than Tuesday,

 December 4, 2018 by 12:00 Noon.

        IT IS FURTHER ORDERED that upon receipt of a copy of this Order

 the defendant shall sign one copy of this Order in the proper space

 below and return it to the Clerk of the Court in the enclosed

 stamped self-addressed envelope, acknowledging that he has received

 a copy of this Order, and that he will report as ordered to the

 facility named above.

        IT IS SO ORDERED this the 6th day of November, 2018.



                                    s/ S. Thomas Anderson
                                    CHIEF U.S. DISTRICT COURT JUDGE
Case 1:17-cr-10103-STA   Document 150   Filed 11/06/18   Page 2 of 4   PageID 473



 Johnny Cross - 17-10103-04




                               ACKNOWLEDGMENT



 I agree to report as directed in the above order and understand that

 if I fail to so report, I may be cited for contempt of court and if

 convicted, may be punished by imprisonment or fine or both.



 Signed and acknowledged before me on _____________________.




 ________________________                 ______________________________

 Clerk/Deputy Clerk                       Defendant
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                  IN THE UNITED STATES DISTRICT COURT
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                                    CHIEF U.S. DISTRICT COURT JUDGE
Case 1:17-cr-10103-STA   Document 150   Filed 11/06/18   Page 4 of 4   PageID 475



 Johnny Cross - 17-10103-04




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 ________________________                 ______________________________

 Clerk/Deputy Clerk                       Defendant
